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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

                                                     :
                                                        MDL NO. 2179
IN RE: OIL SPILL by the OIL RIG                      :
       “DEEPWATER HORIZON” in the                    :
       GULF OF MEXICO, on                            :
       APRIL 20, 2010                                :
                                                        SECTION: J
                                                     :
THIS DOCUMENT RELATES TO:                            :
                                                     :
ALL ACTIONS                                          :
                                                        JUDGE BARBIER
                                                     :
                                                        MAG. JUDGE SHUSHAN
                                                     :
.. .. .. .. .. .. .. .. .. .. .. .. .. .. .. ..      . .. .. .. .. .. .. .. .. .. .. .. .. ..

                MEMORANDUM IN SUPPORT OF
                MOTION TO AMEND PRE-TRIAL
           ORDER NO. 9 TO ALLOW PSC TO REIMBURSE
     COMMON BENEFIT ATTORNEYS FOR INTERNATIONAL TRAVEL


       Plaintiffs respectfully seek to modify PTO 9, relating to Plaintiffs’ Time and

Expense Submissions. Plaintiffs request to add a subsection p to Section IV(1), Shared

Costs, to include:


       “p.     Travel costs incurred in connection with overseas and/or
               international travel, in accordance with the guidelines set forth
               in Section V(2).”

The purpose of this proposed amendment is to allow those PSC Counsel directed to

attend depositions out of the country to be reimbursed out of shared PSC funds for the

extraordinary expenses they are likely to incur.
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Respectfully submitted,


/s/ Stephen J. Herman                            /s/ James Parkerson Roy
Stephen J. Herman,                               James Parkerson Roy,
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Plaintiffs Liaison Counsel.                      Plaintiffs Liaison Counsel.


                            CERTIFICATE OF SERVICE

     WE HEREBY CERTIFY that the above and foregoing Memorandum, together with

Motion and proposed Order, shall be electronically filed into the record using the Court’s

EFC filing system;

     IN ADDITION, the Memorandum, Motion and Proposed Order will be served on

All Counsel via Lexis Nexis in accordance with PRE-TRIAL ORDER NO. 12.

     This 25th day of March, 2011.



                             /s/ Stephen J. Herman and James Parkerson Roy
